           Case 1:21-vv-00615-UNJ Document 42 Filed 02/03/23 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-0615V
                                          UNPUBLISHED


    MARLENE SUTLIFF,                                            Chief Special Master Corcoran

                         Petitioner,                            Filed: January 3, 2023
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Matthew F. Belanger, Faraci Lange, LLP, Rochester, NY, for Petitioner.

Jennifer A. Shah, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On January 12, 2021, Marlene Sutliff filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine that was administered
to her on September 20, 2018. Petition at 1; Stipulation, filed at January 3, 2023, ¶¶ 1-4.
Petitioner further alleges that there has been no prior award or settlement of a civil action
for damages on her behalf as a result of her condition. Petition at 4; Stipulation at ¶ 5.
Respondent denies “that petitioner suffered from SIRVA; denies that the vaccine caused
petitioner’s alleged injury, or any other injury; and denies that petitioner’s current condition
is a sequela of a vaccine-related injury.” Stipulation at ¶ 6.




1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:21-vv-00615-UNJ Document 42 Filed 02/03/23 Page 2 of 7



       Nevertheless, on January 3, 2023, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $48,200.00, in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
       Case 1:21-vv-00615-UNJ Document 42 Filed 02/03/23 Page 3 of 7




                    fHE         ll ED Sl 1 ES   OlRl 01· H DLR \L (. l \J\1~
                                    OFFICE OF. PFCI L \1A TFR~


 1 \RLE L L TLIFL                                             )
                                                              )
                Pe1it1oner.                                   )
                                                              )         'o 21-615V
                                                              )        Ch, f pcc1al \fa,ter Corco1 n
                                                                       E F
S[CRET ARY OF HEAL TH
A D HUMAN SERVICES.

                 Respondent.


                                               STIP LATION

       The parues hereby lipulate 10 the following matter... :

        I. \1arlene Sutliff. petitioner, tiled a peti11on for vaccine compensation under the

 n11onal Vaccine Jnjul) Compensation Program.               ➔2        .S.C. §§ J00oa-10 ct seq (the --\'nlc111e

Program") The petition seek compcn ation for inju1ie allegedly related                    10   pe1111oner·s receipt

of the 111fluenza ("nu··)\ accme. which \accme         I     contained in the ·accinc lnjul) Table (the

··Table"). -42 C.F.R. s I 00 3(a).

        2 Petitioner received a nu vaccine on or about September 20. 20 I,.

        3 The \'acc1notion was adm1111 tcred within the U111ted IJtes

        -4. Petitioner alleges that she suffered a Shoulder lnjul") Related to Vaccme

Adm1n1 tr.ition (" 1R VA ··1 and that her alleged          111JUI")   meet the c11teria for TRY'\ a. defined by

the Table and \\:as caused    111   fact by the \ accmc.

        5. Pet111oner repn:senls that !here ha. been no prior award 01 st.:.llkmL"nt of a cl\ ti action

for damages on her behalf as a re'.'>ult of her condition.

        6. Respondent denies that petitioner suffered from <;IRV\ , de111e-; that the vaccine
        Case 1:21-vv-00615-UNJ Document 42 Filed 02/03/23 Page 4 of 7



caused pet11toncr' alleged t0JUI)', or an) other tnJury . und denie., that pe11110n r'i.;

currcm cond1uon ts a equcla of a accme-relatcd inju1

        7. Ma1ma111mg their Jbo,·e- tat J po-,1L1on'>. the r,arue n , ct thdc,~ no'A Jgn.:c tha t the

issue-; between them shall be ettled and that a dee, ion hould be entered awa1d111g the

compen a11on de eribcd in paragraph 8 of thi, 11pula11on.

              · oon a prac11cable after an cmry of judgment reflecting a dee, 10n con        I   tent with

the terms of th i   11pulat1on, and after petitioner has filed an elec11on to receive comren ation

pur uant to -l2 U.S.C. · J00aa-21 (a)( I), the Secrel1lry of Health and Human Ser. ice will i uc

the following vaccine compen. ation payment:

                A lump sum of$48,200.00 in the fom, or a check payable to petitioner Th 1.
                amount represents compensation for all damage that would be available under ➔ 2
                U.S.C. :300aa- l 5(a).

        9. As oon a practicable after the cmry of judgment on entitlement in thi case. and after

pc1i11oner has filed both a proper and timely elc Lion to receive compen ation pur uanl Lo 42

U.S .C. § 300aa-2 I (a)l I), and an application. the parties will ubmil to furlher proceeding. before

the pec1al ma ter to award rea onable attorneys' fees and costs incurred in proceeding upon this

petition.

         IO Petittoner and her attorney repre cnl that compen at ion to be proYided pursuant to

th, · St1pulallon is not for any item. or ervi e for which lhe Program is not primaril_ l1abl

under 42 U.S.C. § 300aa- I 5(g). to lhe extent Iha! payment has been mad or can r a onabl) be

expected to be made under any State comp nsalion programs. m. urance polic1e . Federal or

State health benefits programs (other than Title XIX of lhe octal Security          ct (42 U.. C ..

1396 ct ·cq. )). or by en11ues that provide health service on a pre-paid ba i .




                                                    .,
         Case 1:21-vv-00615-UNJ Document 42 Filed 02/03/23 Page 5 of 7



        11. Pa ment made pu uant to parngraph            of 1hi   1ipula11011 and any amoun1. av.arded

pu uant 10 paragraph 9 of thi        tipula1ion will be made m accordance with 42 l r_ C.    ~   31l0aa-

l 5(i), subject to the availabiliry of ufficicnt totutory fund .

        12. The parties and their attome.       further agree and . tipulate that. exccp1 for any award

for attorne s' fee and liugalton co ·. and pa L unreimbur able expcn,;c . the money provided

pur·uant Lo this Stipulat1011 ""'ill be u ed ·olely for petitioner'. benefit :.u contemplated b~ a 1rict

construction of 42 U. . . §* 300aa-l 5(a) and (d). and ubject to the condition of 42 U. .C

300aa-15(gl and (h).

        13. Tn return for the payment de cribcd in paragraphs 8 and 9. petr lloner. m her

mdrvidual capacity, and on behalf of her heirs. executors, admini trators. ucce or or a sign ,

doe forever irrevocably and unconditionally release. acquit and di charge the United States and

the Secretary of Health and Human ervice from any and all actions or causes of action

(including agreements.judgments. claim , damages. loss of crvice, expense and all demand

of whatc,·cr kind or nature) that have been brought. could have been brought. or could be timely

brought m the Court of Federal Claims. under the Nationa l Vaccine Injury Compensation

Program, 4-2 U.S.C.    ~   300aa- l O er seq., on account of. or in any way growing out of, any and all

known or unknown, su peeled or unsuspected personal injuries to or death of petitioner resulting

from. or alleged to have resulted from, the nu vaccination admini tered on or about September

20, 2018. as alleged by petitioner in a petition for vaccine compensation filed January 12. 2021.

in the United States Court of Federal Claims as petition No . 21-6 I 5V.

        14. If pel1l10ner should die prior to emry ofjudgmenl, this agreement hall be \'Oidable

upon proper nouce Lo the Court on behalf of either or both of the partie:.




                                                     3
         Case 1:21-vv-00615-UNJ Document 42 Filed 02/03/23 Page 6 of 7



        15. lfthc pccialma1e1 fotl·lot ucadcc11011111complc: tc.confo1m11v\,.,t h lhc1crm

ofth1    t1pulatton or if the      ou11 of Federal          la11ns fads to enter _1udgment      in   confo11111ty with a

dec1.1on that   I:, tn   complete conforrnll)   v.   1th   Lil~   tcnn ol th, ~Lipula11011. th n the partt~:-. ·

seulemenl and thi          t1pulauon !:>hall be 01dable at the olc d1 ret1on of either party

        16. 1l1i Stipulation expre· es a full and complete ncgouatcd seulcrncnl of ltnb1ftl) nnd

damage claimed under the National Childhood Vaccine Injury Act of 1986. as amended. except

as otherwise noted in paragraph 9 above. There i absolutely no agreement on the part of the

parties hereto Lo make any payment or LO do any acl or thing other than                    I   herein expre!> I) !>lated

and clearly agreed to. The parue funher agree and under tand 1hal the av.·ard de. en bed m this

Stipulation may reflect a compromise of the parttes' re. pecti\'e po..,iuonc; a Lo ltabtltly and or

amount of damages. and further. that a change in the nature of the injury or condition or in the

item of compen at ion sought. i not grounds 10 modify or revi c this agreement.

        17. Thi Stipulation hall        1101 be   construed a an admis ion by the United States or the

Secretary of Health and Human Service that the nu vaccine caused petitioner's alleged 111jui: or

any other injury or her current di abili1ie ..

        18. All rights and obligation of petitioner her under shall apply equal!) lo petiltoner·s

heirs. executm . admini trator , ucce ors, and/or a 1gns.

                                         E D OF TTPULA TJO
          Case 1:21-vv-00615-UNJ Document 42 Filed 02/03/23 Page 7 of 7



R pcctfully ubm11tcu.

PETITIO 'ER:


                         I




.\TTOR EY                                                   -\l THORIZED REPRF\F~T \ Tl\ F.
FOR PETIT                                                   OF THE \TTOR 'E \ GF ER \L:


                                                            ~yj)e-J_JJJ'-
                                                                      r
                                                            HF TH R I p F R r \If '\
Fara I Lange                                                Deput} Dir <.tor
I, 2 outh Winton Road. uite I                               Tort Branch
RoLhc tcr. Y 1461                                            I\ II D1, L 10n
Tel: (5 5) 3 9-6026                                               Departm nt or Ju 11cc
                                                            P 0. Bo 146
                                                            Ben1am111 Franklin Statior,
                                                            Washington. DC 20044-0146



 UTHORIZED REPRE 'E "T TIVE                                   TTOR EV OF RECORD FOR
OF THE SE RETAR OF HE LTH                                   RE. PO 'OE 'T:
  D Hli,tA. ERVICE :
George R. Grimes -      D19,1,llys1gnl'dbyG,org~R
                        G11m~·Sl ◄
514                     Oat, 2022 1112 15 24 16-05'00

CDR ,EORGr RI I O CiRJ\,11 S. \1D. MPII                     .E
                                                                                   /1rh---
                                                                                HAI-I
Director. Di, 1 ·ion of lnjUf)                               nal Attorney
  C.ompen auon Program..,                                   Tor~ Branch
H alth y<;tem Bureau                                        Ct\ ti Di\'ISIOll
I kahh Re..,ource and Sen 1ce.-                             U S Department of JusllLC
  Adm1111stra1ion                                           P.O. Bo'\ 146
   S Department or Health                                   BcnJam111 Franl-..1111 ta11on
  anti Human crvice                                         \Va hington, D 20044-0146
-600 Fi h rs Lane. 0, 146B                                  Tel (202) 305-2181
Rock\ ille. \1D 20857                                       jennift:r h,th au. doJ.gm



Dated ·


                                                        5
